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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                 *

              vs.                        *   CRIMINAL NO. MJG-11-0095

JOHN I. FRANKLIN, JR., ET AL.            *

*        *           *        *          *         *         *         *         *

             SECOND MEMORANDUM AND ORDER RE: § 2255 MOTIONS

     The Court has before it Petitioner’s Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct a Sentence By a Person

in Federal Custody [ECF No. 268], Petitioner’s Supplemental

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct a

Sentence By a Person In Federal Custody [ECF No. 285], and the

materials submitted relating thereto.

     The Court has held a hearing including the taking of

evidence and had the benefit of the arguments of counsel.                  The

Court has made factual findings herein based on its evaluation

of the evidence and the reasonable inferences drawn therefrom.



I.   BACKGROUND

     On February 10, 2012, Defendant John Franklin (“Franklin”)

was convicted by a jury on all six counts of the Indictment

charging him in regard to two carjackings perpetrated on August

14, 2010.     The charges are:

             1.     Conspiracy to commit carjacking (18 U.S.C. § 371).
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           2.   [First] Carjacking (18 U.S.C. § 2119(1)).

           3.   Firearm possession and brandishing in furtherance
                 of a crime of violence (18 U.S.C. §
                 924(c)(1)(A)(ii)).

           4.   [Second] Carjacking (18 U.S.C. § 2119(1)).

           5.   Firearm possession and brandishing in furtherance
                 of a crime of violence (18 U.S.C. §
                 924(c)(1)(A)(ii)).

           6.   Firearm possession by a felon (18 U.S.C. §
                 922(g)(1)).

Superseding Indictment [ECF No. 115].

     On April 13, 2013, Franklin was sentenced to a total of 414

months of incarceration, consisting of:

          Counts 1, 2, 4, and 6 – 30 months each, concurrent
           (total of 30 months).

          Count 3 – 84 months consecutive (mandatory minimum).

          Count 5 – 300 months consecutive (mandatory minimum).

Judgment [ECF No. 173].

     On November 6, 2013, the United States Court of Appeals for

the Fourth Circuit affirmed the conviction and sentence.             United

States v. Franklin, 545 F. App’x 243 (4th Cir. 2013).

     By the instant Motions, timely filed pursuant to 28 U.S.C.

§ 2255, Petitioner seeks to have his conviction and sentence

vacated.




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     By the [First] Memorandum and Order Re: § 2255 Motions [ECF

No. 318], the Court denied most of Petitioner’s claims but left

pending for further proceedings his claims that:

          1.     He was denied the effective assistance of trial
                 counsel in regard to his rejection of plea
                 agreement offers.

          2.     He is entitled to relief by virtue of Rosemond v.
                 United States, --- U.S. ----, 134 S. Ct. 1240
                 (2014).

          3.     He is entitled to relief by virtue of Johnson v.
                 United States, --- U.S. ----, 135 S. Ct. 2551
                 (2015).


II. DISCUSSION

     A. Ineffective Assistance of Counsel

          It is established that a defendant is entitled to the

effective assistance of counsel in regard to the acceptance or

rejection of plea agreements.      Lafler v. Cooper, --- U.S. ----,

132 S. Ct. 1376 (2012).

     In order to prevail on a claim that counsel’s

representation violated his Sixth Amendment right to effective

assistance of counsel, Petitioner must show (1) “that counsel’s

representation fell below an objective standard of

reasonableness,”1 and (2) “that there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

1
     Thus overcoming a presumption that counsel’s conduct (i.e.,
representation of the criminal defendant) was reasonable. See
Strickland v. Washington, 466 U.S. 668, 687-88 (1984).
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proceeding would have been different.”        Strickland v.

Washington, 466 U.S. 668, 687-88, 694 (1984).          “A reasonable

probability is a probability sufficient to undermine confidence

in the outcome [of the proceedings].”       Id. at 694.

     The Court has conducted an evidentiary hearing regarding

Petitioner’s ineffective assistance of counsel contentions.

     There were plea agreement negotiations prior to trial in

the course of which the Government offered plea agreements that,

in essence, would have resulted in a 12-year or 15-year

sentence.   Petitioner rejected these offers.         During trial,

following the Government’s presentation of evidence, Petitioner

was offered a plea agreement that would have resulted in a 17

year sentence.   Petitioner rejected this offer, proceeded

through trial, was convicted on all Counts and was sentenced to

414 months (34 years, 6 months) of incarceration.

     Petitioner contends that he did not understand, and his

counsel did not make clear, that if convicted at trial he could

receive any sentence in excess of seven years.          Petitioner

further contends that he was advised by his trial counsel that

he would be found not guilty of conspiracy and acquitted on all

charges.




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                  1.   The Sentence Exposure Contentions

     Petitioner contends that he understood that the maximum

sentence he could receive if convicted at trial was seven years.

He bases this on the fact that, in the course of his

arraignment, he was advised incorrectly by the presiding

Magistrate Judge2 that, if he was convicted on both Counts 3 and

5, he would be subject to a mandatory minimum sentence of seven

years.   The correct advice would have been that he faced a total

mandatory minimum sentence of 32 years if convicted on both

Counts 3 and 5.

     While Petitioner was advised that he would be sentenced to

seven years if convicted on Counts 3 and 5, he could not

reasonably have believed that he was exposed to no more than a

total sentence of seven years in the case.

     The arraignment included the following:

           MAGISTRATE JUDGE:
           I am going to go through the charges and
           explain them to you in a summary fashion and
           also the maximum penalties. And [Prosecutor]
           I would ask you that if I make any errors,
           please bring them to my attention so – I
           know these are all summary and I may be
           leaving something out.

                So Mr. Franklin, count 1 of the
           indictment is a charge of conspiracy to
           commit carjacking. It carries a maximum
           sentence of up to 5 years in prison or
           $250,000 fine or both. Plus a term of up to


2   From another district.
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          one year supervised         release      and    a    $100
          special assessment.

               Counts 2 and 4, that is right, charge
          carjacking    and   aiding   and   abetting.
          Carjacking -- those two counts carry a
          maximum sentence of up to 15 years in prison
          or a $250,000 fine or both plus a three year
          term of supervised release and a $100
          special assessment.

               Counts 3 and 5 charge possession of a
          firearm in furtherance of a crime of
          violence. Those counts carry a maximum life
          sentence plus a mandatory minimum 7 years in
          prison. So between 7 years and life plus a
          fine of $250,000 and a term of 5 years
          supervised   release  and   a  $100   special
          assessment.

               And then there is a count 6 which is
          possession of a firearm by a convicted
          felon, that carries a maximum sentence of 10
          years in prison or $250,000 fine or both
          plus a term of 3 years supervised release
          and a $100 special assessment.

          So   generally,   Mr.    Franklin,   do   you
          understand the charges in the indictment?

          THE DEFENDANT: Yes, ma’am.

          THE COURT: All right.         You     understand     the
          maximum penalties also?

          THE DEFENDANT: Yes, Your Honor.3

Tr. 3/11/2011 [ECF No. 188] at 3-4.

     Petitioner was not accurately informed that conviction on

both 924(c) charges, Counts 3 and 5, would result in a mandatory


3    Also, the prosecutor stated that if Petitioner were an
armed career criminal, the maximum penalty on Count 6 would be
life imprisonment with a fifteen-year mandatory minimum.
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minimum sentence of 32 years rather than 7 years consecutive to

any sentence on the other Counts.         However, he was correctly

informed that he faced maximum sentences on Counts 1, 2, 4, and

6 totaling 45 years.    Thus the Court does not find that

Petitioner believed, or could reasonably have believed, at the

conclusion of his arraignment that he could not receive any

sentence greater than seven years, even if convicted on all

charges.

     Moreover, the Court finds credible the testimony of

Petitioner’s trial counsel, Charles Curlett, Esquire that

Petitioner was advised repeatedly of his correct sentence

exposure, specifically regarding the mandatory minimum sentence

exposure on Counts 3 and 5.



                2. Prediction of Acquittal at Trial

     In Petitioner’s affidavit, he states:

                Mr. Curlett and Mr. Wallach told me I
           should go to trial because they could beat
           the   conspiracy   charge  and   without  a
           conspiracy conviction the government had no
           case against me.

[ECF No. 268-1] at 2.

     At the hearing on the instant motion, after hearing the

testimony of Mr. Curlett that no such advice was given,

Petitioner testified.        He did not state that Mr. Curlett gave


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him the advice.   Rather, he testified that he got the advice in

the court lockup area from Mr. Wallach and that Mr. Curlett

arrived after the advice was given but, in effect confirmed the

advice.

     Mr. Wallach, a Los Angeles attorney, was not brought to

Baltimore to testify.        However, the Court finds his testimony

unnecessary and finds credible Mr. Curlett’s testimony that he

and Mr. Wallach advised Petitioner to accept the plea offers.

The Court does not find that either attorney told or indicated

to Petitioner that he would be acquitted on the conspiracy

charge and all charges.

     Furthermore, Petitioner testified, the “sole reason” for

his rejecting the plea agreements and going to trial was his

purported belief that the highest sentence he could get was

seven years.   As discussed above, Petitioner did not have, and

could not reasonably have had, such a belief.



     B.   The Rosemond Issues

     The jury rendered its verdict in the instant case on

February 13, 2012.    More than two years later, on March 5, 2014,

the United States Supreme Court issued its decision in Rosemond

v. United States, --- U.S. ----, 134 S. Ct. 1240 (2014), holding

that a defendant could not be found guilty as an aider and


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abettor on a § 924(c) charge unless the jury found that the

defendant had advance knowledge that the physical perpetrator

was in possession of a firearm.      The Supreme Court stated that

“the District Court erred in instructing the jury, because it

did not explain that Rosemond needed advance knowledge of a

firearm’s presence.”    Id. at 1251 (emphasis added).



          1.   Appellate Counsel

     On May 28, 2013, while Petitioner’s case was pending on

direct appeal, the Supreme Court granted certiorari in Rosemond.

Petitioner contends that his appellate counsel was ineffective

by failing to seek a stay of his direct appeal pending the

Supreme Court decision in Rosemond.         The effect of a stay would

have been to eliminate any issue as to whether the Rosemond

decision was retroactive.

     Because, as noted below, the Court shall, consistent with

Department of Justice policy, treat the Rosemond decision as

retroactive, the appellate ineffective assistance claim is moot.



          2.   The Effect of Rosemond

     In Rosemond, the Supreme Court held that a defendant could

not be found guilty as an aider and abettor on a § 924(c) charge




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unless the jury found that the defendant had advance knowledge

that the physical perpetrator was in possession of a firearm.

     The Department of Justice has instructed its attorneys to

take the position that Rosemond is retroactive.              Assistant

United States Attorney Sippel, Government counsel in the instant

case, has stated that he personally does not agree with the

Department’s position and states that the majority of courts

addressing the issue have held that Rosemond is not retroactive.

The Court nevertheless accepts the Department of Justice

position and shall treat Rosemond as retroactive.

     At trial, the Court instructed the jury that it could

convict Petitioner as an aider and abettor on the substantive

charges (including the two § 924(c) charges)4 if,

           one, the crime charged was, in fact,
           committed   by   somebody  other  than   the
           defendant; two, the defendant participated
           in the crime charged as something he wished
           to bring about; three, he associated himself
           with the criminal venture knowingly and
           willfully; and, four, he sought by his
           actions   to   make   the criminal   venture
           succeed.

Tr. 2/9/17 [ECF No. 198] at 117-18.         The Court, following the

pre-Rosemond law, did not instruct the jury that to find

Petitioner guilty on the § 924(c) charges it had to find that




4    Count 3 (the first carjacking) and Count 5 (the second
carjacking).
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Petitioner knew in advance of the carjacking that a perpetrator

of the offense possessed a firearm.

     The Court also instructed the jury that it could convict

Petitioner on the substantive charges (including the § 924(c)

charges) on a Pinkerton5 theory, that is, if they found

(1)Petitioner guilty of conspiracy, (2) that the crime was

committed by a co-conspirator, and (3) that Petitioner could

reasonably have foreseen that the crime might be committed by a

co-conspirator.

     The jury found Petitioner guilty on both Count 3 (first

carjacking) and Count 5 (second carjacking).          The verdict does

not reveal whether the convictions were based upon an erroneous

aider and abettor instruction (in light of Rosemond) or a

correct Pinkerton instruction.

     The Supreme Court has said, that:

                In [analogous] circumstances, we think
           the proper rule to be applied is that which
           requires a verdict to be set aside in cases
           where the verdict is supportable on one
           ground, but not on another, and it is
           impossible to tell which ground the jury
           selected.

Yates v. United States, 354 U.S. 298, 312 (1957), overruled on

other grounds by Burks v. United States, 437 U.S. 1 (1978).




5    Pinkerton v. United States, 328 U.S. 640 (1946).
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     However, in United States v. Hare, 820 F.3d 93 (4th Cir.

2016), as in the instant case, there had been a pre-Rosemond §

924(c) aider and abettor instruction that did not require

advance knowledge of the firearm.       The Hare court held that a

plain error standard was applicable and the defendants had to

establish that the error actually affected the outcome of the

proceedings. Id. at 104-05.      In Hare, where the evidence amply

established that it was reasonably foreseeable that a co-

conspirator would possess a firearm, the instruction error was

determined harmless.

     While Petitioner may well not need to establish plain error

in the instant case,6 the Court finds that he has done so.

     Of course, the error was plain in light of Rosemond.              The

error was prejudicial because the evidence was inadequate to

establish Petitioner’s guilt of Count 3 (the first carjacking)

on a Pinkerton theory.

      In the first carjacking, the substantive § 924(c) offense

was committed by Defendant Frazier, who, in the course of the

carjacking pulled out a firearm, put it in the victim’s side,




6    E.g., because there was cause and prejudice, United States
v. Frady, 456 U.S. 152 (1982); cause being (1) the novelty of
the issue, or (2) all counsel’s not answering the Court’s
inquiry “to what extent is there a knowledge element on an
aiding and abetting theory,” or (3) actual innocence.
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and told him to get out of the car.         Tr. 2/09/2015 [ECF. No.

198] at 12.

     The Government’s evidence was not adequate to establish

beyond a reasonable doubt that Petitioner knew that Frazier had

a firearm prior to the crime or could reasonable foresee that a

co-conspirator would utilize a firearm in the course of the

conspiracy.   At most the evidence established that, prior to the

first carjacking, Defendant Troy Williams, a cooperating witness

for the Government, knew that Frazier had a gun and planned to

use it to rob people.       The paucity of the Government evidence as

to Petitioner’s knowledge of the gun prior to the first

carjacking is illustrated by the Government’s Supplemental

Briefing, stating the conclusion that the evidence was “ample”

and presenting an inadequate basis for the conclusion.

               In Franklin’s case, there was ample
          evidence    that    demonstrated   reasonable
          foreseeability to all defendants that a co-
          conspirator would use a firearm. During
          trial,    co-conspirator     Troy    Williams
          testified and explained to the jury how
          Franklin, co-conspirator Dwayne Frazier, and
          he met at his apartment on August 14, 2010.
          See Trial Transcript, Day 4 – February 9,
          2012, at 7-8. During the meeting, Franklin
          suggested to Frazier and Williams that they
          go downtown to get some money, meaning that
          they were going to rob persons for money.
          Id.   at  8-10.   When   the   men left   the
          residence, defendant Frazier was armed with
          a handgun. Id. at 10. The men then walked
          downtown to Baltimore Street. Id. at 10-11.


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                 The three men, including Franklin, then
            carjacked two vehicles.

                        *     *     *

                 This evidence amply establishes that
            firearms were used in furtherance of the
            carjackings and the use of such firearms was
            foreseeable to Franklin. While at Williams’s
            apartment, Franklin, Frazier and Williams
            planned to rob people in downtown Baltimore,
            and Frazier left the apartment with a .357
            revolver.

[ECF No. 321] at 5-6.

     The evidence does not “amply,” or at all, provide a basis

for a finding beyond a reasonable doubt that Petitioner could

reasonably foresee, much less know, prior to the first

carjacking, that Frazier had a firearm.

     The evidence established that Petitioner agreed to proceed

with Frazier and Williams to rob people and that, after hailing

a “hack” to proceed to a club, Frazier pulled out a gun.            The

evidence was not adequate to prove that Petitioner reasonably

foresaw that Frazier had a gun that would be used within the

scope of the conspiracy.

     The Court’s decision on the sufficiency of the evidence for

a Pinkerton theory of culpability does not run afoul of the law

of the case doctrine or the mandate rule, as the Government

contends.   The issue of reasonable foreseeability was not raised

on appeal, nor was it “actually decided” or “decided by


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necessary implication” by the United States Court of Appeals for

the Fourth Circuit.    Sejman v. Warner-Lambert Co., 845 F.2d 66,

69 (4th Cir. 1988).    The Fourth Circuit court noted in its

review of Petitioner’s convictions on Counts 3 and 5,

          Franklin’s sole argument is that these
          convictions cannot stand if we conclude that
          the evidence is insufficient to support his
          carjacking   and    conspiracy  convictions.
          Because we hold that the carjacking and
          conspiracy convictions are supported by
          ample evidence, we conclude that Franklin’s
          challenges to the convictions under Counts 3
          and 5 likewise fail.

United States v. Franklin, 545 F. App'x 243, 249–50 (4th Cir.

2013) (emphasis added).     In a footnote, the court noted

          A defendant may be convicted for violating
          Section 924(c) on the basis of a co-
          conspirator’s use of a gun if the use was in
          furtherance   of  the   conspiracy  and   was
          reasonably foreseeable to the defendant.
          United States v. Wilson, 135 F.3d 291, 305
          (4th Cir. 1998). Here, the evidence showed
          that during both carjacking incidents, one
          of Franklin’s co-conspirators possessed a
          firearm and pointed it at the driver in
          Franklin’s presence, thereby allowing the
          co-conspirators to steal the victims’ cars
          and possessions. Accordingly, we conclude
          that    the  evidence   supports   Franklin’s
          convictions   for  violating   18  U.S.C.   §
          924(c).

Id. at 250 n. 2.   The court did not discuss particular evidence

of reasonable foreseeability, and its holding on Counts 3 and 5

was based upon its conclusion that “the carjacking and

conspiracy convictions are supported by ample evidence.” Id. at

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249.   Therefore, Petitioner’s 924(c) convictions on a Pinkerton

theory are not the law of the case or covered by the mandate of

the appellate court. Cf. Sejman, 845 F.2d at 69 (“[The law of

the case doctrine] does not reach questions which might have

been decided but were not.”).

       The error affected Petitioner’s substantial rights because

he could not have been convicted properly of the § 724(c)

offense regarding the first carjacking on a Pinkerton theory and

was convicted on the aider and abettor theory without a finding

that he knew in advance that Frazier possessed a firearm.

       The Court shall set aside Petitioner’s conviction on Count

3 (the first carjacking).     However, the Court recognizes that

the Government was not aware that there would be a need to prove

Petitioner’s advance knowledge of the firearm at the trial.

Hence, it is possible that, now knowing of the requirement, the

Government can establish the requisite knowledge.

       Accordingly, the Government shall be provided the

opportunity to decide to retry Petitioner on Count 3.



       C.   The Johnson Issues

       The parties agree that Petitioner is not entitled to relief

based upon Johnson v. United States, --- U.S. ----, 135 S. Ct.

2551 (2015). [ECF No. 347].


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IV. CONCLUSION

     For the foregoing reasons:

          1.     Petitioner’s Motion Under 28 U.S.C. § 2255 to
                 Vacate, Set Aside, or Correct a Sentence By a
                 Person in Federal Custody [ECF No. 268] is
                 GRANTED IN PART.

          2.     Petitioner’s Supplemental Motion under 28 U.S.C.
                 § 2255 to Vacate, Set Aside or Correct a
                 Sentence By a Person In Federal Custody [ECF No.
                 285] is DENIED AS WITHDRAWN.

          3.     Petitioner’s conviction on Count 3 is set aside.

          4.     Government counsel shall arrange a conference,
                 which can be attended by telephone, to discuss
                 further proceedings herein.


     SO ORDERED, this Friday, January 06, 2017.



                                                   /s/__________
                                             Marvin J. Garbis
                                        United States District Judge




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